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                       UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
ENIA D. SAMPAIO,                     )
                                     )
            Plaintiff,               )
v.                                   )    Civil Action No. 12-11759
                                     )
WELLS FARGO BANK, N.A.,              )
                                     )
            Defendant.               )
____________________________________ )

                                   NOTICE OF REMOVAL

       Defendant Wells Fargo Bank, N.A. ("Wells Fargo"), by their undersigned counsel,

hereby gives notice, pursuant to 28 U.S.C. §§ 1441 and 1446, of the removal to this Court of

the civil action commenced in the Essex County Superior Court (Massachusetts) identified

below. Wells Fargo denies the allegations contained in the state court pleadings and file this

Notice without waiving any defenses, exceptions, or obligations that may exist in its favor in

state or federal court. In support of this removal, Wells Fargo states as follows:

I.     The Action.

       Wells Fargo has been served with an Attested Complaint (the "Complaint") filed by

Plaintiff in the Massachusetts Superior Court for Essex County. The case is entitled Enia D.

Sampaio v. Wells Fargo Bank, N.A. (the "Action"). Plaintiff Enia D. Sampaio ("Plaintiff")

delivered a copy of the Complaint to Wells Fargo's registered agent for service, Corporation

Service Company, on August 27, 2012. A copy of the Complaint (as delivered) is attached

hereto as Exhibit A.    Removal is timely because this removal is filed within 30 days of the

date that it was delivered to Wells Fargo.




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II.      Pleadings And Notice To State Court.

         Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81.1, certified copies of all pleadings,

records, orders and proceedings from the Essex County Superior Court will be filed with this

Court.    Contemporaneous with the filing of this Notice, Wells Fargo has given notice to

Plaintiff and will notify the Essex County Superior Court of this Removal.

III.     Statement Of Statutory Basis For Jurisdiction.

         A.      This Court Has Jurisdiction Under 28 U.S.C. § 1331 (Federal Question).

         The action is within the original jurisdiction of the District Court under 28 U.S.C. §

1331, which provides that "[t]he district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States." 28 U.S.C. §

1331.     Plaintiff alleges in his Complaint that Wells Fargo violated the Home Affordable

Modification Program ("HAMP"). Compl. ¶¶ 9-13. Specifically, Plaintiff alleges that Wells

Fargo has refused to honor a HAMP loan modification. HAMP, created by Congress under

the Emergency Economic Stabilization Act of 2008, is governed by guidelines set forth by

Fannie Mae and the United States Department of the Treasury. HAMP is a federal program.

Thus, this court has original jurisdiction over the HAMP-related claims in the Complaint.

         B.      This Court Has Jurisdiction Under 28 U.S.C. § 1332 (Diversity).

         This action is also within the original jurisdiction of the District Court under 28 U.S.C.

§ 1332, which provides, in pertinent part, that "[t]he district courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between … citizens of different States." 28

U.S.C. § 1332(a)(1). This Action satisfies both of these statutory requirements.




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               i.     The Parties Are Citizens Of Different States.

       Plaintiff alleges that she is a resident of Peabody, Massachusetts.         Compl.     ¶ 1.

Plaintiff alleges that Wells Fargo is an Iowa corporation. Compl. ¶ 2. Plaintiff's allegations

that he is a citizen of Massachusetts and that Wells Fargo is an Iowa corporation establishes

complete diversity under 28 U.S.C. § 1332.

               ii.    The Amount In Controversy Exceeds $75,000.

       In calculating the amount in controversy, the Court should consider the total amount of

monetary relief that Plaintiff seeks to recover, or the financial impact the relief sought would

have on the Defendant. See Richard C. Young & Co. v. Leventhal, 389 F.3d 1, 3 (1st Cir.

2004). (The amount is measured by "the judgment's pecuniary consequences to those involved

in the litigation.”); see also Dept. of Recreation & Sports v. World Boxing, 942 F.2d 84, 90

(1st Cir. 1991). When equitable relief is sought, "the amount-in-controversy is 'measured by

the value of the object of the litigation.'" Aliberti v. GMAC Mortg., LLC, 779 F. Supp. 2d

242, 245 (D. Mass. 2011) (quoting Hunt v. Wash. State Apple Adver. Comm'n, 432 U.S.

333, 347 (1977)). "In cases that seek equitable relief against foreclosure sales, the fair market

value of the property to be foreclosed upon is an acceptable measure of the amount in

controversy for purposes of diversity."      Morse v. Residential Credit Solutions, Inc., slip

opinion, 2012 WL 458492 (D.Mass. February 13, 2012) citing Bedard v. Mortgage Electronic

Registration Systems, Inc., 2011 WL 1792738, at *2-3 (D. N.H. May 11, 2011); see also

Roper v. Saxon Mortgage Services, 2009 WL 1259193, at *2 (N.D. GA. May 5, 2009) (where

"plaintiff seeks injunctive relief barring the foreclosure sale on the property at issue, the value

of the property determines the financial value at stake."). In the Complaint, Plaintiff seeks

injunctive relief to stop Wells Fargo from evicting him from the Property. See Compl. at


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"Wherefore" clause (p. 3). Central to the dispute in this case is Plaintiff's challenge to Wells

Fargo's ability to foreclosure on the Property under a $308,800 mortgage. See Exhibit A,

Mortgage. Plaintiff argues that Wells Fargo may not foreclose because of a pre-existing loan

modification that she alleges to have entered into. See Compl. ¶¶ 12-17. Plaintiff seeks, not

only to enjoin Wells Fargo from enforcing mortgage, but also to invalidate the mortgage under

various Massachusetts statutes. See Compl. ¶¶ 18-20. As the claims in this case seek to enjoin

the foreclosure, the amount in controversy includes the "fair market value of the property."

Morse, 2012 WL 458492. Based upon the $308,800 mortgage, the property value is greater

than $75,000. Therefore, the amount in controversy requirement of 28 U.S.C. § 1332 is met.

       C.      This Court Has Supplemental Jurisdiction Under 28 U.S.C. § 1367.

       This Court also has supplemental jurisdiction over Plaintiff's state law claims. Under

28 U.S.C. § 1367, "in any civil action of which the district courts have original jurisdiction,

the district courts shall have supplemental jurisdiction over all other claims that are so related

to claims in the action within such original jurisdiction that they form part of the same case or

controversy…" In this case, Plaintiff's state law claims relate directly to the same disputed

foreclosure sale and loan modification review under HAMP that forms the basis of his federal

law claim. Accordingly, the state law claims are directly related to the HAMP-based claims

and form a part of the same controversy alleged in the Complaint.

IV.    Conclusion.

       Wells Fargo respectfully requests that this Court assume jurisdiction over this matter

and that no further proceedings be held in the Essex County Superior Court. To the extent that

Plaintiff challenges this removal, Wells Fargo respectfully requests the opportunity to brief and

argue before this Court any issues or questions regarding this Court's jurisdiction.


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                                           Defendant,
                                           Wells Fargo Bank, N.A.,
                                           by its attorneys,

                                           /s/ Sean R. Higgins
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                                           Nelson Mullins Riley & Scarborough LLP
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                                           p. (617) 573-4700
                                           f. (617) 573-4710
Dated: September 21, 2012

                                CERTIFICATE OF SERVICE

        I, Sean R. Higgins, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as non-registered participants on
this date.

Dated: September 21, 2012                  /s/ Sean R. Higgins




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